Case 23-10998-pmb   Doc 1 Filed 08/18/23 Entered 08/18/23 13:23:43   Desc
                      Voluntary Petition Page 1 of 8
Case 23-10998-pmb   Doc 1 Filed 08/18/23 Entered 08/18/23 13:23:43   Desc
                      Voluntary Petition Page 2 of 8
Case 23-10998-pmb   Doc 1 Filed 08/18/23 Entered 08/18/23 13:23:43   Desc
                      Voluntary Petition Page 3 of 8
Case 23-10998-pmb   Doc 1 Filed 08/18/23 Entered 08/18/23 13:23:43   Desc
                      Voluntary Petition Page 4 of 8
Case 23-10998-pmb   Doc 1 Filed 08/18/23 Entered 08/18/23 13:23:43   Desc
                      Voluntary Petition Page 5 of 8
Case 23-10998-pmb   Doc 1 Filed 08/18/23 Entered 08/18/23 13:23:43   Desc
                      Voluntary Petition Page 6 of 8
Case 23-10998-pmb   Doc 1 Filed 08/18/23 Entered 08/18/23 13:23:43   Desc
                      Voluntary Petition Page 7 of 8
Case 23-10998-pmb   Doc 1 Filed 08/18/23 Entered 08/18/23 13:23:43   Desc
                      Voluntary Petition Page 8 of 8
